
99 N.Y.2d 530 (2002)
In the Matter of IRIS R., a Child Alleged to be Neglected. ANGEL GUARDIAN CHILDREN &amp; FAMILY SERVICES, INC., Respondent; JOSE R., Appellant, et al., Respondents.
In the Matter of DELILAH R., a Child Alleged to be Neglected. ANGEL GUARDIAN CHILDREN &amp; FAMILY SERVICES, INC., Respondent; JOSE R., Appellant, et al., Respondents.
Court of Appeals of the State of New York.
Submitted September 3, 2002.
Decided November 21, 2002.
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as affirmed Family Court orders denying motions to reopen the proceedings, dismissed upon the ground that such portion of the order sought to be appealed from does not finally determine the proceedings within the meaning of the Constitution; motion for leave to appeal otherwise denied.
